   Case 1-15-44838-nhl             Doc 14       Filed 12/03/15         Entered 12/03/15 04:39:32



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK
                               BROOKLYN DIVISION


                                                   )
In re                                              )     Chapter 13
                                                   )
GUILLERMO RODRIGUEZ,                               )     Case No. 1-15-44838-nhl
                                                   )
Debtor(s)                                          )
                                                   )

             REQUEST OF RECOVERY MANAGEMENT SYSTEMS CORPORATION
            FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

PLEASE TAKE NOTICE that Recovery Management Systems Corporation, as authorized agent for

Synchrony Bank (Jennifer Convertibles [Last four digit of account:5725]), a creditor in the

above-captioned chapter 13 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of

Bankruptcy Procedure (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the

United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or

required to be given and all papers served or required to be served in this case be also given to and served,

whether electronically or otherwise, on:
            Synchrony Bank
            c/o Recovery Management Systems Corporation
            25 SE 2nd Avenue, Suite 1120
            Miami, FL 33131-1605
            Telephone: (305) 379-7674
            Facsimile: (305) 374-8113
            E-mail: claims@recoverycorp.com


Dated: Miami, Florida
December 3, 2015
                                                       By: /s/ Ramesh Singh
                                                       Ramesh Singh
                                                       c/o Recovery Management Systems
                                                       Corporation
                                                       Financial Controller
                                                       25 SE 2nd Avenue, Suite 1120
                                                       Miami, FL 33131-1605
                                                       (305) 379-7674
Assignee Creditor: Jennifer Convertibles [Last four digit of account:5725]
